Case 2:20-cv-04074-RGK-SK Document 26 Filed 08/06/20 Page 1 of 2 Page ID #:139



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  17                             UNITED STATES DISTRICT COURT
  18                          CENTRAL DISTRICT OF CALIFORNIA
  19   CHRISTOPHER WEIDNER,                               Case No.: 20-20-cv-04074-RGK-SK
  20   Individually and as Personal                 )
       Representative of the Decedent,              ) NOTICE OF VOLUNTARY
  21
       CARL WEIDNER,                                ) DISMISSAL
  22                                                )
              Plaintiff,                            )
  23
                                                    )
  24          vs.                                   )
  25
                                                    )
       CARNIVAL CORPORATION,                        )
  26
       CARNIVAL PLC, and PRINCESS                   )
  27   CRUISE LINES LTD.,                           )
                                                    )
  28
              Defendants.                           )


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       ______________________________________________________________________________________________
       NOTICE OF VOLUNTARY DISMISSAL                     Case No. 2:20-cv-04074-RGK-SK
Case 2:20-cv-04074-RGK-SK Document 26 Filed 08/06/20 Page 2 of 2 Page ID #:140



   1
              The NOTICE IS HEREBY GIVEN that pursuant to Fed. R. Civ. Pro. 41(a),
   2
       Plaintiff CHRISTOPHER WEIDNER voluntarily dismisses the above-captioned
   3
       action without prejudice.
   4

   5
                                          Respectfully submitted,
   6
       DATED: August 6, 2020              MARY ALEXANDER & ASSOCIATES, P.C.
   7

   8
                                          By: _/s/ Mary E. Alexander___________
   9
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  10                                           Brendan D.S. Way, Esq.
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                                               Attorneys for Plaintiff

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       NOTICE OF VOLUNTARY DISMISSAL                     Case No. 2:20-cv-04074-RGK-SK
